Case 5:23-cv-00724-BJD-PRL Document 12 Filed 03/15/24 Page 1 of 1 PageID 43


                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


JAMES M. SLATER,

              Plaintiff,

V.                                             Case No.: 5:23-cv-724-BJD-PRL

FEDERAL BUREAU OF PRISONS,

    Defendant.
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                           ORDER TO SHOW CAUSE

        The parties are directed to show cause by a written response to be filed

on or before March 22, 2024, why sanctions should not be imposed for their

failure to file·a Case Management Report within the time prescribed by Local

Rule 3.02(b)(1). The parties are cautioned that failure to respond to this order

may result in dismissal of the action or the entry of sanctions without

further notice.•
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        DONE and ORDERED in Jacksonville, Florida this      l5_ day of March,
2024.



                                           United States District Judge

Copies furnished to:

Counsel of record

ap
